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 8
 9                       IN THE UNITED STATES DISTRICT COURT
10                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,
12                                           NO. CR.S-08-577 FCD

13                      Plaintiff,
                                             STIPULATION AND ORDER CONTINUING
14     v.                                    STATUS CONFERENCE

15   SALAM S. KALASHO,                       DATE:     January 11, 2010
     ANIL MALHI, and                         TIME:     10:00am
16   PISCES INTERNATIONAL, INC.,             COURT:    Courtroom 2

17                       Defendants.

18
19          IT IS HEREBY stipulated between the United States of America,
20   through its undersigned counsel, Assistant U.S. Attorney R. Steven
21   Lapham, and defendants Salam S. Kalasho and Pisces International,
22   Inc., through their undersigned counsel Gregory A. Vega, and
23   defendant Anil Malhi, through his undersigned counsel Donald M. Re,
24   that the status conference presently set for January 11, 2010, be
25   continued to March 1, 2010 at 10:00 a.m., thus vacating the presently
26   set status conference.
27          The parties stipulate and agree that the continuance is
28   necessary to permit defense counsel to review additional discovery to

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 1   be provided by the government and to engage in plea negotiations.
 2        The parties further stipulate and agree that the requested
 3   continuance is necessary to permit defense counsel reasonable time
 4   necessary for effective preparation, taking into account the exercise
 5   of due diligence within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv),
 6   that the ends of justice served by granting this continuance outweigh
 7   the best interests of the public and the defendants in a speedy trial
 8   within the meaning of 18 U.S.C. § 3161(h)(7)(A), and that time should
 9   be excluded under the Speedy Trial Act from January 11, 2010 to and
10   including March 1, 2010.
11
12   Dated: January 8, 2010                /s/ R. Steven Lapham
                                           R. STEVEN LAPHAM
13                                         Assistant U.S. Attorney
14
15   Dated: January 8, 2010                /s/ Gregory A. Vega
                                           GREGORY A. VEGA
16                                         Attorney for Defendants Salam S.
                                           Kalasho and Pisces International
17
18
     Dated: January 8, 2010                /s/ Donald M. Re
19                                         DONALD M. RE
                                           Attorney for Defendant Anil Malhi
20
21
                                   ORDER
22
     IT IS SO ORDERED.
23
24   Dated: January 8, 2010
25
26
                                           FRANK C. DAMRELL, JR.
27                                         UNITED STATES DISTRICT JUDGE
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